Case 8:14-cv-02305-CEH-EAJ Document 12 Filed 07/06/15 Page 1 of 2 PageID 53



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

ANDRE WILKINSON,

       Plaintiff,

v.                                                               Case No: 8:14-cv-2305-T-36EAJ

PODS, INC., a Florida corporation, and
CAINE & WEINER SOUTH, LLC, a
Florida limited liability company

      Defendants.
___________________________________/

                                            ORDER

       Before the Court is the Stipulation for Final Order of Dismissal with Prejudice as to PODS,

Inc., Only (Doc. 11). In accord with the Stipulation for Final Order of Dismissal with Prejudice

as to PODS, Inc., Only, it is ORDERED AND ADJUDGED as follows:

       1)      The Stipulation for Final Order of Dismissal with Prejudice as to PODS, Inc., Only

is APPROVED (Doc. 11).

       2)      The claims against Defendant PODS, Inc., only, are dismissed, with prejudice. Each

party shall bear its own costs and attorneys’ fees.

       3)      As Plaintiff’s claims against both Defendants have now been dismissed, the Clerk

is directed to terminate all pending motions and deadlines and close this case.

       DONE AND ORDERED in Tampa, Florida on July 6, 2015.




COPIES FURNISHED TO:
Case 8:14-cv-02305-CEH-EAJ Document 12 Filed 07/06/15 Page 2 of 2 PageID 54



Counsel of Record




                                     2
